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                     EXHIBIT 8
                  Case 3:18-cv-04865-EMC Document 562-9 Filed 01/12/23 Page 2 of 3




From:                                 Lamm, Carolyn
Sent:                                 Monday, January 9, 2023 1:59 PM
To:                                   Morgan, Christine
Cc:                                   Havlin, Kim; Pham, Hansel; Kownacki, Nicolle
Subject:                              RE: In re Tesla Inc. Securities Litigation, No. 18-cv-04865-EMC (N.D. Cal.).




Dear Chris:

It may or may not resolve the matter. Given you have said the witnesses can choose to appear voluntarily or not, I
understand you to be agreeing that the subpoenas are of no force and effect. The subpoenas must be formally
withdrawn, however, including because they have been filed on the court docket. If defendants will not file a notice of
withdrawal, please let me know immediately so we can proceed with motion practice to quash the subpoenas in a timely
fashion.

Best, Carolyn




Carolyn B. Lamm | Partner
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White & Case LLP | 701 Thirteenth Street, NW | Washington, DC 20005-3807


From: Morgan, Christine <CMorgan@ReedSmith.com>
Sent: Monday, January 9, 2023 12:14 PM
To: Lamm, Carolyn <clamm@whitecase.com>
Cc: Havlin, Kim <kim.havlin@whitecase.com>; Pham, Hansel <hpham@whitecase.com>; Kownacki, Nicolle
<nkownacki@whitecase.com>
Subject: RE: In re Tesla Inc. Securities Litigation, No. 18-cv-04865-EMC (N.D. Cal.).

Dear Ms. Lamm: There is no need to file a motion to quash because we will not be seeking to enforce the
subpoenas. The witnesses can choose to appear voluntarily, or can choose not to. I trust this resolves the matter. Best
- Chris


Christine M. Morgan
cmorgan@reedsmith.com
+1 415-659-5970

Bio
LinkedIn Profile

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reedsmith.com



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From: Lamm, Carolyn <clamm@whitecase.com>
Sent: Friday, January 6, 2023 10:00 AM
To: Morgan, Christine <CMorgan@ReedSmith.com>
Cc: Havlin, Kim <kim.havlin@whitecase.com>; Pham, Hansel <hpham@whitecase.com>; Kownacki, Nicolle
<nkownacki@whitecase.com>
Subject: In re Tesla Inc. Securities Litigation, No. 18-cv-04865-EMC (N.D. Cal.).

EXTERNAL E-MAIL - From clamm@whitecase.com

Dear Counsel,

Please see the attached correspondence.

Best regards,
Carolyn


Carolyn B. Lamm | Partner
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External Signed



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